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            10       WHATSAPP INC. and FACEBOOK, INC.

            11
                                                   UNITED STATES DISTRICT COURT
            12
                                               NORTHERN DISTRICT OF CALIFORNIA
            13
            14
                     WHATSAPP INC., a Delaware corporation,        Case No. 4:19-cv-07123-PJH
            15       and FACEBOOK, INC., a Delaware
                     corporation,                                  [PROPOSED] ORDER GRANTING
            16                                                     WHATSAPP’S MOTION TO SEAL
                                                                   DOCUMENTS RELATED TO WHATSAPP’S
            17                       Plaintiffs,                   MOTION TO DISQUALIFY DEFENSE
                                                                   COUNSEL BASED ON PRIOR
            18             v.                                      REPRESENTATION IN A SEALED MATTER

            19       NSO GROUP TECHNOLOGIES LIMITED                Hon. Phyllis J. Hamilton
                     and Q CYBER TECHNOLOGIES LIMITED,
            20
                                     Defendants.
            21

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                                                                                                 [PROPOSED] ORDER
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                        CASE NO. 4:19-CV-07123-PJH
 SAN FRA NCI S CO
                          Case 4:19-cv-07123-PJH Document 47-2 Filed 04/10/20 Page 2 of 3



              1             Having considered WhatsApp’s Administrative Motion to Seal Documents Related to

              2      WhatsApp’s Motion to Disqualify, the Declaration of Daniel J. Grooms, and other papers filed

              3      contemporaneously therewith:

              4             IT IS HEREBY ORDERED that the following documents shall be filed under seal and sealed from

              5      the public record:

              6
              7       Document                        Page/Line Number                 Ruling
              8       WhatsApp’s Motion to            Entirety of Document             Granted
              9       Disqualify Defense Counsel
            10        Based on Prior Representation
            11        in a Sealed Matter
            12        Declaration of Jacob Sommer     Entirety of Document             Granted
            13        in Support of WhatsApp’s
            14        Motion to Disqualify Defense
            15        Counsel Based on Prior
            16        Representation in a Sealed
            17        Matter
            18        Declaration of Travis LeBlanc   Entirety of Document             Granted
            19        in Support of WhatsApp’s
            20        Motion to Disqualify Defense
            21        Counsel Based on Prior
            22        Representation in a Sealed
            23        Matter (“LeBlanc
            24        Declaration”)
            25        Exhibit A to the LeBlanc        Entirety of Document             Granted
            26        Declaration
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  COOLEY LLP
                                                                                                    [PROPOSED] ORDER
ATTO RNEY S AT LAW                                                 2                       CASE NO. 4:19-CV-07123-PJH
 SAN FRA NCI S CO
                           Case 4:19-cv-07123-PJH Document 47-2 Filed 04/10/20 Page 3 of 3



              1
                      Exhibit B to the LeBlanc        Entirety of Documents          Granted
              2
                      Declaration
              3
                      Declaration of Nitin Gupta in   Entirety of Document           Granted
              4
                      Support of WhatsApp’s
              5
                      Motion to Disqualify Defense
              6
                      Counsel Based on Prior
              7
                      Representation in a Sealed
              8
                      Matter
              9
                      WhatsApp’s Request for          Entirety of Document           Granted
            10
                      Judicial Notice
            11
                      Proposed Order Granting         Entirety of Document           Granted
            12
                      WhatsApp’s Request for
            13
                      Judicial Notice
            14
                      The Declaration of Daniel J.    Entirety of Document           Granted
            15
                      Grooms in Support of
            16
                      WhatsApp’s Motion to Seal
            17
                      Proof of Service by Daniel J.   Entirety of Document           Granted
            18
                      Grooms
            19

            20       IT IS SO ORDERED.
            21

            22       Dated: _________________

            23                                                  Honorable Phyllis J. Hamilton
                                                                United States District Judge
            24

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                     222798768
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  COOLEY LLP
                                                                                                  [PROPOSED] ORDER
ATTO RNEY S AT LAW                                                3                      CASE NO. 4:19-CV-07123-PJH
 SAN FRA NCI S CO
